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                                                                            U.S DISTRICT COURT
                           IN THE UNITED STATES DISTRICT COlMTERN D,STR,CT OF TEXAS
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   BEAUMONT DIVISION MAR - 1 U21

                                                                       BY
  UNITED STATES OF AMERICA                                             DEPUTY

  v.
                                                            No. l:20cr79 (2)

  RHONDA MONSCHELLE
  FELDER (2)


                                       FACTUAL BASIS

         The gove ment presents to the Court, by and through the undersigned Assistant

  United States Attorney in and for the Eastern District of Texas, joined by the defendant

  Rhonda Monschelle Felder, and the defendant's attorney Brian Roberts, and presents

  this factual basis and stipulation in support of the defendant's plea of guilty to Count One

  of the Indictment and in support thereof, would show the following:

  1. That the defendant Rhonda Monschelle Felder, hereby stipulates and agrees to

         the truth of all matters set forth in this factual basis and stipulation, and agrees that

          such admission may be used by the Court in support of her plea of guilty to Count

          One of the Indictment, alleging a violation of 21 U.S.C. § 846, Conspiracy to

          Possess with Intent to Distribute a Detectable Amount of Methamphetamine, a

          Schedule II Controlled Substance.

  2. That the defendant, Rhonda Monschelle Felder, who is pleading guilty to such

          Indictment, is one and the same person charged in the Indictment.




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  3.     That the events described in the Indictment occurred in the Eastern District of

         Texas.


  4. That had this matter proceeded to trial, the government, through the testimony of

         witnesses, including expert witnesses, and through admissible exhibits, would

         have proven, beyond a reasonable doubt, each and every essential element of the


         offense alleged in the Indictment; specifically, the government would have

         proven:

                  Beginning in 2018, the Drug and Enforcement Administration (DEA), the

         Bureau of Alcohol Tobacco, Firearms, and Explosives (ATF) and the Jasper

         Police Department (JPD) began an investigation into the Limbrick Drug

         Trafficking Organization (Limbrick DTO), operating out of Jasper, Texas, which

         is in the Eastern District of Texas.

                  On September 5, 2019, a deputy with the Liberty County Sheriffs office

         noticed the driver of a red Toyota Corolla not wearing a seatbelt, in Liberty

         County, Texas which is in the Eastern District of Texas. As the deputy made

         contact with the occupants of the vehicle, the deputy immediately noticed the

         smell of burnt marijuana. The driver of the vehicle was identified as Johnathan

         Limbrick, and the passenger as Rhonda Monschelle Felder (Felder). Limbrick

         admitted to smoking marijuana in the vehicle. During a subsequent search of the

         vehicle officers noticed a clear plastic bag bulging out of Felder s purse. Officers

         recovered the bag and noticed it contained roughly two hundred grams of a

         substance believed to be methamphetamine. In a post-Miranda statement


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         Limbrick admitted there were approximately six (6) ounces in the bag recovered

         from Felder s purse and that he (Limbrick) paid $1,800 for the methamphetamine.

         Furthermore, the investigation revealed the car Felder and Limbrick were driving

         was borrowed from a third-party with the intention to drive to Houston, Texas to

         pick up methamphetamine for distribution in Jasper, Texas. The suspected

         methamphetamine recovered from Felder s purse was submitted to the DEA s

         South Central Laboratory and it determined the substance to be d-

         Methamphetamine Hydrochloride with a purity of 99 percent in the amount of

         195.7 grams.

                 Rhonda Monschelle Felder admits that she agreed with two or more

         persons, directly or indirectly to possess with the intent to distribute

         methamphetamine; knowing that the agreement to possess with the intent to

         distribute methamphetamine was unlawful; and that she joined the agreement

         willfully, intending to further the possession with intent to distribute

         methamphetamine. That the defendant knew or reasonably should have known the

         scope of the conspiracy involved at least one hundred and ninety five (195) grams

         of d-Methamphetamine Hydrochloride with a purity of 99 percent in the amount of

         195.7 grams.

          Felder’s role in the conspiracy is limited to the one hundred and ninety five

         grams of d-methamphetamine discussed above.




                DEFENDANT'S SIGNATURE AND ACKNOWLEDGMENT

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  5. I have read this factual basis and stipulation and the Indictment or have had them

           read to me and have discussed them with my attorney. I fully understand the

           contents of this factual basis and stipulation and agree without reservation that it

           accurately describes the events and my acts.



  Dated:                     (
                                                 Rnonda Monschelle Felder
                                                 Defendant



             DEFENSE COUNSEL'S SIGNATURE AND ACKNOWLEDGMENT

  6. I have read this factual basis and stipulation and the Indictment and have reviewed

           them with my client, Rhonda Monschelle Felder. Based upon my discussions

           with the defendant, I am satisfied that the defendant understands the factual basis

           and stipulation as well as the Indictment and is knowingly and voluntarily

           agreeing to these stipulated facts.




  Dated:




                                                 NICHOLAS GANJEI
                                                 ACTING UNITED STATES ATTORNEY


                                                 Russell ames


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